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     Emeryville, California 94608
 3   Telephone: 510/654-2000

 4   Attorneys for Defendant
     MICHAEL SOLOVEY
 5

 6

 7                              UNITED STATES DISTRICT COURT

 8                             NORTHERN DISTRICT OF CALIFORNIA

 9                                 SAN FRANCISCO DIVISION

10

11   THE UNITED STATES OF AMERICA,                        NO. CR 04-0310 CRB
                                                          NO. CR 05-0765 CRB
12                Plaintiff,

13   v.                                                   STIPULATION AND ORDER
                                                          [PROPOSED] CONTINUING
14   MICHAEL SOLOVEY,                                     SENTENCING HEARING

15
                                 Defendant.
16                                            /

17
                  It is hereby stipulated by and between the government and defendants
18
     MICHAEL SOLOVEY and SERGEI IVANOV, by and through their attorneys of record,
19
     that the sentencing date in the above-entitled matters should be continued from June
20
     28, 2006 to July 26, 2006 at 2:15 p.m. to give counsel and probation sufficient time to
21
     review relevant documents.
22
     Dated: May 19, 2006
23

24
                                                   /S/ Ted W. Cassman
25                                                TED W. CASSMAN, for defendant
                                                  MICHAEL SOLOVEY
26

                                                    1
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 1   Dated: May 20, 2006

 2

 3                                         /S/ William Osterhoudt
                                          WILLIAM OSTERHOUDT, for defendant
 4                                        SERGEI IVANOV

 5   Dated: June 12 , 2006

 6

 7                                          /S/ Stacey P. Geis
                                          STACEY GEIS, Assistant U.S.
 8                                        Attorney

 9

10                                        ORDER

11               It is so ordered.
            June
12   Dated: May __,
                 16 2006

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                                          CHARLES R. BREYER, United States



                                                                                          RT
                                          District Court Judge DERED
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